Case 10-93904-BHL-11              Doc 1036 Filed 02/15/12 EOD 02/15/12 11:33:59                     Pg 1 of 1
                                 SO ORDERED: February 15, 2012.




                                 ______________________________
                                 Basil H. Lorch III
                                 United States Bankruptcy Judge




                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                        NEW ALBANY DIVISION

 In re:                                                            )   Chapter 11
                                                                   )
 EASTERN LIVESTOCK CO., LLC, et al.,1                              )   Case No. 10-93904-BHL-11
                                                                   )
                            Debtors.                               )   JOINTLY ADMINISTERED

     ORDER GRANTING JOINT MOTION TO EXTEND DEADLINES IN CONTESTED MATTER
      REGARDING FIRST BANK & TRUST'S OBJECTIONS TO THE TRUSTEE'S PURCHASE
                             MONEY CLAIMS REPORT

                   This matter is before the Court upon the parties' Joint Motion To Extend Deadlines In

 Contested Matter Regarding First Bank & Trust's Objections To The Trustee's Purchase Money Claims

 Report [Dock. No. 989] ("Motion"), and the Court being duly and sufficiently advised, hereby GRANTS

 the Motion with respect to the relief requested therein, it appearing to the Court that the Motion is made

 for good cause.

                   Accordingly, IT IS HEREBY ORDERED that the Parties'2 remaining deadlines in the

 Scheduling Order are stayed pending further orders of the Court.

                                                        ###


 1
      The Debtor entities are Eastern Livestock Co., LLC and Okie Farms, L.L.C.
